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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                         )
COMMITTEE ON THE JUDICIARY,              )
 UNITED STATES HOUSE                     )
 OF REPRESENTATIVES,                     )
                                         )
            Plaintiff,                   )
                                         )
                       v.                )
                                         ) No. 19-cv-2379 (KBJ)
 DONALD F. MCGAHN, II                    )
                                         )
           Defendant,                    )
                                         )

                                   NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendant Donald F. McGahn, II, hereby appeals to the

United States Court of Appeals for the District of Columbia Circuit from this Court’s November

25, 2019, Order, see ECF No. 47, as well as its November 25, 2019, Memorandum Opinion, see

ECF No. 46.

Dated: November 26, 2019                       Respectfully submitted,

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